Exhibit 4
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 Introduction             Quick definitions     Preprint     Accepted manuscript         Published journal article




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